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                                        Appendix A
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                    Collection of Electronically Stored Information (ESI)

Careful consideration should be given to the methodology, implementation, and documentation
of ESI collection to ensure that all responsive data and metadata are preserved in the collection
process. Consideration should also be given as to whether production media should be encrypted
when required by law (i.e. Health Insurance Portability and Accountability Act (HIPAA), Family
Educational Rights and Privacy Act (FERPA), etc. See Sections 18 & 19 below.

          1.   Specification Modifications
As provided in the ESI Protocol, the Parties agree to meet and confer regarding modifications or
deviations from the Production Specifications.

          2.   Production Format of ESI and Imaged Hard Copy Documents
Responsive ESI and Imaged Hard Copy Documents shall be produced in the format outlined
below. All ESI, except as outlined below in sections 5 – 15, shall be rendered to TIFF image
format, and accompanied by an Opticon/Concordance® Image Cross Reference file. All
applicable metadata/database (see section 3 below) shall be extracted and provided in
Concordance® load file format.

           a. Image File Format: All documents shall be produced in black and white TIFF
              format unless the image requires color. An image requires color when color in
              the document adds emphasis to information in the document or is itself
              information that would not be readily apparent on the face of a black and white
              image.

           b. When producing black and white paper documents scanned to images, or rendered
              ESI, they shall be produced as 300 dpi, 1 bit, single-page TIFF files, CCITT
              Group IV (2D Compression). When producing in color, paper documents
              scanned to images, or rendered ESI, they shall be produced as 300 dpi single-page
              JPG. Images should be uniquely and sequentially Bates numbered and unless
              otherwise specified, Bates numbers should be an endorsement on each image.
                   i. All TIFF file names shall include the unique Bates number burned into the
                      image. (See section 16, below, regarding Bates number instructions.)
                  ii. All TIFF image files shall be stored with the “.tif” extension.
                 iii. Images without corresponding extracted text shall be OCR’d using
                      standard COTS products.
                 iv. All pages of a document or all pages of a collection of documents that
                      comprise a folder or other logical grouping, including a box, shall be
                      delivered on a single piece of media.
                  v. No image folder shall contain more than 2,000 images.

           c. Opticon/Concordance® Image Cross Reference file: Images should be
              accompanied by an Opticon load file that associates each Bates number with its

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    corresponding single-page TIFF image file. The Cross Reference file should also
     contain the relative image file path for each Bates numbered page. The
     Opticon/Concordance® Image Cross Reference file is a page level load file, with
     each line representing one image.

     Below is a sample:

              REL000000001,,.\IMAGES\001\REL000000001.TIF,Y,,,
              REL000000002,,.\IMAGES\001\REL000000002.TIF,,,,
              REL000000003,,.\IMAGES\001\REL000000003.TIF,,,,
              REL000000004,,.\IMAGES\001\REL000000004.TIF,Y,,,
              REL000000005,,.\IMAGES\001\REL000000005.TIF,,,,

    The fields are, from left to right:

          •   Field One – (REL000000001) – the Bates Number. This value must be
              unique for each row in the OPT file. The first page of each document must
              match the DOCID or BEGDOC# value of the respective document.
          •   Field Two – (blank) – the volume identifier. This field is not required.
          •   Field Three – (.\IMAGES\001\REL000000001.TIF) – The relative file
              path to the image to be loaded.
          •   Field Four – (Y) – the document marker. A “Y” indicates the start of a
              unique document.
          •   Field Five – (blank) – The folder indicator. This field is not required, and
              typically is not used.
          •   Field Six – (blank) – The box indicator. This field is not required, and
              typically is not used.
          •   Field Seven – (blank) – The page count. This field is not required.

 d. Concordance® Load File: Images should also be accompanied by a flat,
    document-level load file to provide the metadata and native files containing
    delimited text that will populate fields in a searchable, flat database
    environment. The file encoding must be one of four types: Western European
    (Windows), Unicode (UTF16), Big-Endian Unicode or UTF8. The file should
    contain the required fields listed below in section 3.

                 1. Text delimited load files are defined using the standard
                    Concordance delimiters. For example:

                              Field Separator          ¶ or Code 020
                              Text Qualifier           þ or Code 254
                              Newline                  ® or Code 174
                              Multi-value              ; or Code 059
                              Nested values            \ or Code 092


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                          2. This load file should contain the relative file path to the individual
                              multi-page, document level text files.
                         3. This load file should also contain the relative file path to all
                             provided native files, such as Microsoft Excel or PowerPoint files.
                         4. There should be one line for every record in a collection.
                         5. The load file must contain a header listing the metadata/database
                             fields contained within. For example, if the data file consists of a
                             First Page of a Record (BegDoc#), Last Page of a Record (ending
                             Bates / ENDDOC#), DOCID, DOCDate, File Name, and a Title,
                             then the structure may appear as follows:

                              þBEGDOCþ¶þENDDOCþ¶þDOCIDþ¶þDOCDATEþ¶þFILENAM
                              Eþ¶þTITLEþ

           d. The extracted/OCR text should be provided for each document as a separate
              single text file. The file name should match the BEGDOC# or DOCID for that
              specific record and be accompanied by the .txt extension.

           e. Directory and folder structure: The directory structure for productions should
              be:
                     \CaseName\LoadFiles
                     \CaseName\Images < For supporting images (can include subfolders as
                     needed, should not include more than 2,000 files per folder)
                     \CaseName\Natives <Native Files location (can include subfolders as
                     needed, should not include more than 2,000 files per folder)
                     \CaseName\Text <Extracted Text files location (can include subfolders as
                     needed, should not include more than 2,000 files per folder)
                     \CaseName\Translated Images < For supporting images of translated
                     documents (as needed for rendered translated documents; can include
                     subfolders as needed, should not include more than 2,000 files per folder)
                     \CaseName\Translated Text <Translated Text files location (as needed
                     for translated text; can include subfolders as needed, should not include
                     more than 2,000 files per folder).

          3.   Required Metadata/Database Fields
A “✓” denotes that the indicated field should be present in the load file produced. “Other ESI”
includes data discussed in sections 5 – 15 below, but does not include email, email repositories
(section 11), “stand alone” items (section 12), and imaged hard copy material (section 9). Email,
email repositories, and “stand alone” materials (section 12) should comply with “Email” column
below. Imaged hard copy materials should comply with the “Hard Copy” column. The Parties
agree to meet and confer about any field which cannot be populated automatically (i.e. would
require manual population of information).




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Field name             Field Description          Fiel        Field     Hard E-     Other
                                                  d           Valu      Copy mail   ESI
                                                  Typ         e
                                                  e
COLLECTION             Name of the                Text        160       ✓      ✓    ✓
SOURCE                 Company/Organization
                       data was collected from
SOURCE ID (BOX         Submission/volume/box      Text        10        ✓      ✓    ✓
#)                     number
CUSTODIAN              Custodian/Source -         Text        160       ✓      ✓    ✓
                       format: Last, First or
                       ABC Dept.
DUPECUSTODIAN Custodian/Source – all              Text –      Unlimited        ✓    ✓
                       custodians who had the     semicolon
                       document before de-        delimited
                       duplication; format: Last,
                       First or ABC Dept.
DUPECUSTODIAN Listing of all the file             Text –      Unlimited        ✓    ✓
FILE PATH              locations of the           semicolon
                       document before de-        delimited
                       duplication
AUTHOR                 Creator of the document Text           500                   ✓
BEGDOC#                Start Bates (including     Text        60        ✓      ✓    ✓
                       prefix) - No spaces
ENDDOC#                End Bates (including       Text        60        ✓      ✓    ✓
                       prefix) - No spaces
DOCID                  Unique document Bates      Text        60        ✓      ✓    ✓
                       # or populate with the
                       same value as Start Bates
                       (DOCID = BEGDOC#)
PGCOUNT                Page Count                 Number      10        ✓      ✓    ✓
GROUPID                Contains the Group         Text        60               ✓    ✓
                       Identifier for the family,
                       in order to group files
                       with their attachments
PARENTID               Contains the Document      Text        60               ✓    ✓
                       Identifier of an
                       attachment’s parent
ATTACHIDS              Child document list;       Text –      Unlimited ✓      ✓    ✓
                       Child DOCID or Child       semicolon
                       Start Bates                delimited
ATTACHLIST             List of Attachment         Text –      Unlimited        ✓    ✓
                       filenames                  semicolon
                                                  delimited

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Field name             Field Description           Fiel       Field     Hard E-     Other
                                                   d          Valu      Copy mail   ESI
                                                   Typ        e
                                                   e
BEGATTACH              Start Bates number of       Text       60        ✓      ✓    ✓
                       parent
ENDATTACH              End Bates number of last Text          60        ✓      ✓    ✓
                       attachment
PRODUCTION             Date of production          Date       DD/MM/    ✓      ✓    ✓
DATE                                                          YYYY
RECORD TYPE            Use the following           Text       60               ✓    ✓
                       choices: Image, Loose E-
                       mail, E-mail, E-Doc,
                       Attachment, Hard Copy
                       or Other. If using Other,
                       please specify what type
                       after Other
FROM                   Sender (i.e.: e-mail        Text       160              ✓    ✓
                       address, Last name, First
                       name)
TO                     Recipient (i.e.: e-mail     Text –     Unlimited        ✓    ✓
                       address, Last name, First semicolon
                       name)                       delimited
CC                     Carbon Copy Recipients Text –          Unlimited        ✓    ✓
                       (i.e.: e-mail address, Last semicolon
                       name, First name)           delimited
BCC                    Blind Carbon Copy           Text –     Unlimited        ✓    ✓
                       Recipients (i.e.: e-mail    semicolon
                       address, Last name, First delimited
                       name)
SUBJECT                Subject line of email       Text       Unlimited        ✓
TITLE                  Document Title              Text       Unlimited             ✓
CONVINDEX              E-mail system ID used to Text          Unlimited        ✓
                       track replies, forwards,
                       etc.
DOCDATE                Last Modified Date for      Date       MM/DD/           ✓    ✓
                       files and Sent date for e-             YYYY
                       mail, this field inherits
                       the date for attachments
                       from their parent. Do
                       not provide 00/00/0000.
TEXT FILEPATH          Relative file path of the   Text       Unlimited ✓      ✓    ✓
                       text file associated with
                       either the extracted text
                       or the OCR
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Field name             Field Description           Fiel       Field      Hard    E-     Other
                                                   d          Valu       Copy    mail   ESI
                                                   Typ        e
                                                   e
DATE TIME SENT         Date and time Sent (USE     Date and   MM/DD/             ✓
                       TIME ZONE OF                Time       YYYY
                       COLLECTION                             HH:MM:S
                       LOCALITY)                              S
                       Numbers must be
                       populated. If date is
                       unknown, leave blank.
                       Do not provide
                       00/00/0000
DATE TIME CRTD         Date Created (USE           Date and   MM/DD/             ✓      ✓
                       TIME ZONE OF                Time       YYYY
                       COLLECTION                             HH:MM:S
                       LOCALITY)                              S
                       Numbers must be
                       populated. If date is
                       unknown, leave blank.
                       Do not provide
                       00/00/0000
DATE TIME SVD          Date Saved (USE TIME        Date and   MM/DD/             ✓      ✓
                       ZONE OF                     Time       YYYY
                       COLLECTION                             HH:MM:S
                       LOCALITY)                              S
                       Numbers must be
                       populated. If date is
                       unknown, leave blank.
                       Do not provide
                       00/00/0000
DATE TIME MOD          Date Last Modified          Date and   MM/DD/             ✓      ✓
                       (USE TIME ZONE OF           Time       YYYY
                       COLLECTION                             HH:MM:S
                       LOCALITY)                              S
                       Numbers must be
                       populated. If date is
                       unknown, leave blank.
                       Do not provide
                       00/00/0000




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Field name             Field Description              Fiel       Field       Hard   E-     Other
                                                      d          Valu        Copy   mail   ESI
                                                      Typ        e
                                                      e
DATE TIME RCVD         Date Received (USE             Date and   MM/DD/             ✓
                       TIME ZONE OF                   Time       YYYY
                       COLLECTION                                HH:MM:S
                       LOCALITY)                                 S
                       Numbers must be
                       populated. If date is
                       unknown, leave blank.
                       Do not provide
                       00/00/0000
DATE TIME ACCD         Date Accessed (USE             Date and   MM/DD/             ✓      ✓
                       TIME ZONE OF                   Time       YYYY
                       COLLECTION                                HH:MM:S
                       LOCALITY)                                 S
                       Numbers must be
                       populated. If date is
                       unknown, leave blank.
                       Do not provide
                       00/00/0000
TIME ZONE              Time zone of collection        Decimal    10                 ✓
OFFSET                 locality, relative to
                       Coordinated Universal
                       Time (UTC). E.g., for
                       US Central Standard
                       Time (CST), the value
                       for this field should be -
                       6.0
FILE SIZE              Native File Size in KBs        Decimal    10                        ✓
FILE NAME              File name - name of file       Text       Unlimited                 ✓
                       as it appeared in its
                       original location
APPLICATION            Application used to            Text       160                ✓      ✓
                       create native file (e.g.
                       Excel, Outlook, Word)
FILE EXTENSION         Extension for the file         Text       10                 ✓      ✓
                       (e.g. .doc, .pdf, .wpd)
FILEPATH               Data’s original source         Text       Unlimited          ✓      ✓
                       full folder path
NATIVE LINK            Relative file path             Text       Unlimited          ✓      ✓
                       location to the native file


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Field name             Field Description              Fiel   Field       Hard    E-     Other
                                                      d      Valu        Copy    mail   ESI
                                                      Typ    e
                                                      e
FOLDER ID              Complete E-mail folder         Text   Unlimited           ✓
                       path (e.g. Inbox\Active)
                       or Hard Copy container
                       information (e.g. folder
                       or binder name)
HASH VALUE             Identifying value of an        Text   Unlimited           ✓      ✓
                       electronic record that is
                       used for deduplication
                       during processing. MD5
                       or SHA1 hash algorithms
                       may be used, but must be
                       kept consistent
                       throughout all
                       productions and
                       communicated to
                       Government.
MESSAGEHEADER          E-mail header.                 Text   Unlimited           ✓
ATTACHMCOUNT           Number of attachments          Text   10                  ✓
                       (any level child
                       document) associated
                       with a ParentID
FILE TYPE              Description that               Text   160                 ✓      ✓
                       represents the file type to
                       the Windows Operating
                       System. E.g., Adobe
                       Portable Document
                       Format, Microsoft Word
                       97 – 2003, or Microsoft
                       Office Word Open XML
                       Format.
HAS HIDDEN             Identifies whether the         Text   Yes/No              ✓      ✓
CONTENT                document has comments,
                       track changes or other
                       hidden content or data
                       associated with it
MESSAGE TYPE           Exchange Message class         Text   60                  ✓
                       or equivalent
EXTENDED                                              Text   Unlimited           ✓      ✓
PROPERTIES


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Field name              Field Description               Fiel     Field         Hard     E-     Other
                                                        d        Valu          Copy     mail   ESI
                                                        Typ      e
                                                        e
HAS REDACTIONS          Identifies whether a            Text     Yes/No        ✓        ✓      ✓
                        record has been
                        produced with
                        redactions; should be
                        populated with Y for
                        records with redactions
                        and N for records
                        without redactions.
HAS                     Identifies whether a            Text     Yes/No        ✓        ✓      ✓
TRANSLATIONS            document has been
                        produced with translated
                        text or audio contains a
                        transcript


         4. Search, De-Duplication, Near-Duplicate Identification, Technology Assisted
         Review, E-mail Conversation Threading and Other Culling Procedures
             a. The Parties will make best efforts to perform global de-duplication across all
                custodians and populate the DupeCustodian field. The Parties agree to meet and
                confer about any de-duplication disputes.
             b. All files found on the National Institute of Standards and Technology (NIST) list,
                commonly referred to as deNISTing, should be excluded from discovery. All
                available metadata from files withheld from delivery due to the deNISTing
                process will be available upon request.
             c. If de-duplication is utilized, all files should be globally de-duplicated with the
                following conditions:

                i. The “DupeCustodian” metadata field (listing of all custodians who had the
                     document before de-duplication) must be provided with the document
                     production.
                ii. The “DupeCustodian File Path” metadata field (listing all the file locations of
                     the document before de-duplication) must be provided with the document
                     production.
                iii. All files and metadata for the duplicate documents removed during de-
                     duplication must be preserved and available for production upon request.
                iv. No customization of hashing may occur without prior express approval by the
                     Receiving Party.
                v. De-duplication must be done by document family, not by individual
                     document.
                vi. A detailed description of the steps taken to de-duplicate (including the process
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                  of obtaining hash values) must be provided to the Receiving Party. For every
                  production after the first, a separate Unified Custodian overlay shall be
                   provided. If no overlay is necessary due to the fact that no documents de-
                   duped out in connection with previously produced documents, this shall be
                   expressly stated in the cover letter accompanying the subsequent
                   production(s).

           d. Email thread analysis may be used to reduce the volume of emails reviewed and
              produced. The produced emails must include all of the unique responsive
              information from a thread, including attachments. For example, if an email in a
              string deviates from the thread such that it contains attachments that are not
              included in the most complete thread, then that individual email and its
              attachments shall also be produced. However, at the request of the Receiving
              Party, the Producing Party, shall produce specifically identified lesser included e-
              mails.

           e. The Producing Party shall not use any other procedure to cull, filter, group,
              separate or de-duplicate, or near-deduplicate, etc. (i.e., reduce the volume of)
              responsive material before discussing with and obtaining the written approval of
              the government. All objective coding (e.g., near duplicate ID or e-mail thread ID)
              shall be discussed and may be produced as additional metadata fields if necessary.

          5.   Hidden Text
Subject to the provisions of Section 10, all hidden text (e.g. track changes, hidden columns,
mark-ups, notes) shall be expanded and rendered in the image file. If an Adobe PDF’s hidden
text cannot be expanded and rendered in an image file, it need only be produced in native form if
individually requested by a specific document identifier or bates number. For Word Documents,
only Word Documents with hidden text are required to be produced in native format. For all
other files that cannot be expanded, the Parties shall meet and confer to determine whether the
native files shall be produced with the image file. Notwithstanding, Parties may produce imaged
versions with no corresponding files when redactions are required.

          6.   Embedded Files and File Links
All non-graphic embedded objects (Word documents, Excel spreadsheets, .wav files, etc.) that
are found within a file shall be extracted and produced. For purposes of production, the
embedded files shall be treated as attachments to the original file, with the parent/child
relationship preserved.

The parties shall meet and confer regarding how to treat file links, including links within e-mails
to centralized document repositories (e.g. MS OneDrive and Google Drive).

          7.   Image-Only Files
All image-only files (non-searchable .pdfs, multi-page TIFFs, Snipping Tool and other
screenshots, etc., as well as all other images that contain text) shall be produced with OCR text
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and metadata/database fields identified in section 3 for “Other ESI.”
          8.   Encrypted Files
Producing parties shall use their best efforts to decrypt any data (whether individual files or
digital containers) that is protected by a password, encryption key, digital rights management, or
other encryption scheme.

          9.   Production of Imaged Hard Copy Records
All imaged hard copy material shall reflect document unitization to the extent feasible and shall
include all attachments and container information (if applicable, and to be reflected in the
PARENTID, ATTACHID, BEGATTACH, ENDATTACH and FOLDERID fields).

           a. Unitization in this context refers to identifying and marking the boundaries of
              documents within the collection, where a document is defined as the smallest
              physical fastened unit within a bundle. (e.g., staples, paperclips, rubber bands,
              folders, or tabs in a binder).
           b. All imaged hard copy documents shall be produced as 300 dpi single-page TIFF
              files, CCITT Group IV (2D Compression). All documents shall be produced in
              black and white TIFF format unless the image requires color. An image requires
              color when color in the document adds emphasis to information in the document
              or is itself information that would not be readily apparent on the face of a black
              and white image. Images identified as requiring color shall be produced as color
              300 dpi single-page JPEG files.
           c. All objective coding (e.g., document date or document author) should be
              discussed and may be included as additional metadata/database fields should they
              be deemed as necessary.

          10. Production of Spreadsheets and Presentation Files
All spreadsheet and presentation files (e.g. Excel, PowerPoint) shall be produced in the
unprocessed “as kept in the ordinary course of business” state (i.e., in native format), with an
associated placeholder image and endorsed with a unique Bates number. See section 16 below.
The file produced should maintain the integrity of all source, custodian, application, embedded
and related file system metadata.

          11. Production of E-mail Repositories
E-mail repositories, also known as e-mail databases (e.g., Outlook PST, Lotus NSF), can contain
a variety of items, including: messages, calendars, contacts, tasks, etc. E-mail database systems
should not be produced without consultation with and written consent of the government about
the format for the production of such databases.

          12. Production of Items Originally Generated in E-mail Repositories but Found
          and Collected Outside of E-mail Repositories, i.e., “Stand-alone” Items
Any parent e-mail or other parent items (e.g., calendar, contacts, tasks, notes, etc.) found and
collected outside of e-mail repositories (e.g., items having extensions .msg, .htm, .mht, etc.),
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shall be produced with the “Loose E-mail” metadata fields outlined in section 3, including but
not limited to any attachments, maintaining the family (parent/child) relationship.


          13. Production of Structured Data
Prior to any production of responsive data from a structured database (e.g., Oracle, SAP, SQL,
MySQL, QuickBooks, proprietary timekeeping, accounting, sales rep call notes, CRMs,
SharePoint, etc.), the producing party shall first identify the database type and version number,
discuss providing the database dictionary (in whole or part) and any user manuals, or any other
documentation describing the structure and/or content of the database and a list of all reports that
can be generated from the database. The Parties agree that, if a report is provided, the standard
format of that report provided should be in comma separated values (.csv) format. The
information contained in any such report must be thoroughly explained before production.

          14. Production of Photographs with Native File or Digitized ESI
Photographs shall be produced as single-page JPEG files with a resolution equivalent to the
original image as they were captured/created. All JPEG files shall have extracted
metadata/database fields provided in a Concordance® load file format as outlined in section 3 for
“Other ESI.” Photographs originally captured on a mobile device shall be treated as mobile
device data under Section 17 herein.

          15. Production of Native Files (When Applicable Pursuant to These
          Specifications)
Production of native files, as called for in these specifications, shall have extracted
metadata/database fields provided in a Concordance® load file format as defined in the field
specifications for “Other ESI” as outlined in section 3 as well as a placeholder image which
indicates a native file is being produced.

ESI shall be produced in a manner which is functionally usable by the government. The
following are examples:

           a. AutoCAD data, e.g., DWG and DXF files, shall be processed/converted and
              produced as single-page JPG image files and accompanied by a Concordance®
              Image formatted load file as described above. The native files shall be placed in a
              separate folder on the production media and linked by a hyperlink within the text
              load file.
           b. GIS data shall be produced in its native format and be accompanied by a viewer
              such that the mapping or other data can be reviewed in a manner that does not
              detract from its ability to be reasonably understood.
           c. Audio and video recordings shall be produced in native format and be
              accompanied by a viewer if such recordings do not play in a generic application
              (e.g., Windows Media Player). If needed, The Parties shall meet and confer to
               discuss the appropriate manner for the production of audio/visual files that require
               redaction.
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          16. Bates Number Convention
All images should be assigned Bates numbers. Each Bates number shall be a standard length,
include leading zeros in the number, and be unique for each produced page. The numbers should
be endorsed on the actual images at a location that does not obliterate, conceal, or interfere with
any information from the source document. Native files should be assigned a single Bates
number for the entire file which will represent the native document in the Opticon/
Concordance® Image Cross Reference file. The load file will include a reference to the native
file path and utilize the NATIVELINK metadata field). The Bates number shall not exceed 30
characters in length and shall include leading zeros in the numeric portion. The Bates number
shall be a unique number given sequentially (i.e. page one of document is PREFIX0000000001,
page two of the same document is PREFIX0000000002) to each page (when assigned to an
image) or to each document (when assigned to a native file). The prefix should indicate the case
number and source of the records followed by a ten-digit numeric value. Productions related to
all cases should include the master case number (i.e. 00897_NAVY_0000000001). For Plaintiff
Productions, the prefix should include the last five digits of the individual case number and the
party’s surname followed by a ten-digit numeric value (i.e. 00XXX_SURNAME_0000000001).
If the parties agree to a rolling production, the numbering convention shall remain consistent
throughout the entire production. There shall be no spaces between the prefix and numeric
value. If suffixes are required, please use “dot notation.” Below is a sample of dot notation:

                            Document #1                          Document #2
        Page #1             PREFIX0000000001                     PREFIX0000000002
        Page #2             PREFIX0000000001.002                 PREFIX0000000002.002
        Page #3             PREFIX0000000001.003                 PREFIX0000000002.003

          17. Other Production Formats
If other ESI or document production formats are required but are not included in these
specifications (including, but not limited to, mobile devices, workplace collaboration sites (e.g.
Teams, Slack), smart phones, social media, translated documents, audio files, non-Windows
based documents and non-PC based documents), the parties shall meet and conferon the specific
technical production specifications required prior to production.

          18. Media Formats for Storage and Delivery of Production Data
Electronic documents and data shall be delivered on any of the following media:

           a. All media shall be encrypted for transfer. The media product or hardware must
              be FIPS 140-2 compliant. Password(s) or passcode(s) shall be provided in a
              communication that does not accompany the media
           b. CD-ROMs and/or DVD-R (+/-) formatted to ISO/IEC 13346 and Universal Disk
              Format 1.02 specifications; Blu-ray.
           c. External hard drives (USB 3.0 or higher, formatted to NTFS format
              specifications) or flash drives
           d. Government approved File Transfer Protocol (FTP) technologies.
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           Specifications for Production of ESI and Digitized (“Scanned”) Images
                                (“Production Specifications”)
           e. Storage media used to deliver ESI shall be appropriate to the size of the data in
              the production.
           f. Media should be labeled with the case name, production date, Bates range, and
              producing party.

          19. Virus Protection and Security for Delivery of Production Data
Production data shall be free of computer viruses. Any files found to include a virus shall be
quarantined by the producing party and noted in a log to be provided to the government.
Password protected or encrypted files or media for delivery of production data shall be provided
with corresponding passwords and specific decryption instructions. All encryption software used
for the delivery of production data shall be used with approval by and with the written consent of
the government.

          20. Compliance and Adherence to Generally Accepted Technical Standards
Production shall be in conformance with standards and practices established by the National
Institute of Standards and Technology (“NIST” at www.nist.gov), U.S. National Archives &
Records Administration (“NARA” at www.archives.gov), American Records Management
Association (“ARMA International” at www.arma.org), American National Standards Institute
(“ANSI” at www.ansi.org), International Organization for Standardization (“ISO” at
www.iso.org), and/or other U.S. Government or professional organizations.

          21. Read Me Text File
All deliverables shall include a “read me” text file at the root directory containing: total number
of records, total number of images/pages or files, mapping of fields to plainly identify field
names, types, lengths, and formats. The file shall also indicate the field name to which images
will be linked for viewing, date and time format, and confirmation that the number of files in
load files matches the number of files produced.

          22. Transmittal Letter to Accompany Deliverables
All deliverables should be accompanied by a transmittal letter including the production date, case
name and number, producing party name, and Bates range produced. Technical instructions on
how to decrypt media should be included in the transmittal letter but the password should be
transmitted separately.




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